The defendant on the trial requested this charge in writing:
"If you believe from the evidence in this case that the man Washington was killed as the result of an accident, then the defendant would not be guilty as charged."
The taking of human life by misfortune or misadventure, while in the performance of a lawful act, exercising due care, and without harmful intent, is excusable; but all of such facts must concur, and the absence of any one of them will involve guilt. Tidwell v. State, 70 Ala. 33.
According to defendant's own testimony, she was engaged in the unlawful act of snatching a gun from the deceased, and even under her claim, death resulted from her unlawful act. The charge under the facts in this case was properly refused. It was not error for the court to sustain the state's objection to the testimony of defendant's witness Smith, that deceased owed Smith considerable money, etc. This testimony could have no bearing on the issues involved.
We find no error in the record, and the judgment is affirmed.
Affirmed.